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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


 ZEIKOS, INC.,

         Plaintiff,                                   Case No. 1:23-cv-00303

    v.                                                Hon. Virginia M. Kendall

 WALGREEN CO.,                                        Magistrate Judge Keri L. Holleb Hotaling

         Defendant.


   WALGREEN CO.’S MOTION TO STRIKE THE DECLARATION OF WILLIAM
   DUNNEGAN OR, IN THE ALTERNATIVE, TO DISQUALIFY DUNNEGAN AS
                       COUNSEL IN THIS CASE

         Defendant Walgreen Co., by its undersigned counsel, respectfully moves this Court to

strike the affidavit of William Dunnegan, counsel for Plaintiff Zeikos, Inc. for failure to comply

with Fed. R. Civ. P. 56(c)(4). In the alternative, Walgreen Co. moves this Court to disqualify

counsel pursuant to L.R. 83.50 and American Bar Association Model Rule 3.7. The bases for this

motion are more fully set forth in the accompanying Memorandum in Support.

Dated: October 18, 2024
                                     Respectfully submitted,

                                     WALGREEN CO.

                                     By:     /s/ Robert M. Andalman
                                             One of its Attorneys


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                            CERTIFICATE OF SERVICE

       I, Robert M. Andalman, hereby certify that on October 18, 2024, I caused to be

electronically filed the foregoing WALGREEN CO.’S MOTION TO STRIKE THE

DECLARATION OF WILLIAM DUNNEGAN OR, IN THE ALTERNATIVE, TO

DISQUALIFY DUNNEGAN AS COUNSEL IN THIS CASE, a true and correct copy of which

will be served via the Court’s EF/ECM system on all parties of record.




                                                /s/ Robert M. Andalman




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